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                           UNITED STATES DISTICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 JEREMY SESSUMS, ET AL                              CIVIL ACTION NO. 2:24-cv-00104
 Plaintiffs,

        vs.                                         MAGISTRATE:
                                                     MICHAEL B. NORTH
 SHELL USA, INC., ET AL
             Defendants.

                                           ORDER

        Considering defendant Shell Offshore Inc.’s Ex Parte Motion for Leave to File Sur-Reply

Memorandum in Support of Motion for Summary Judgment and the record herein,

       IT IS HEREBY ORDERED that the motion is GRANTED and Shell Offshore Inc.’s

Sur-Reply Memorandum in Support of Motion for Summary Judgment shall be filed into the

record of these proceedings.

       New Orleans, Louisiana this ___ day of March, 2025.


                                           ______________________________________
                                           HON. MICHAEL B. NORTH
                                           UNITED STATES MAGISTRATE JUDGE
